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The purpose of
              is to advocate and support social change that will result
in non-violent relationships, homes, and communities.


To achieve this social change,             provides public education,
direct services, and programs related to the issue of domestic and
sexual violence.


Services are provided in the West Virginia counties of                          ,
        ,          ,        ,      ,      ,    , and                      .
Direct services provided to persons who are experiencing domestic
and sexual violence are: shelter, 24-hour hotline, counseling, legal
advocacy, parenting education, information and referral to appropri-
ate community resources, a family visitation center, transitional
housing, and county outreach programs.




                                                               Program B Decl., Ex. 1
